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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3148
                                        )
             V.                         )
                                        )
ANGEL M. KOSKI,                         )                   ORDER
                                        )
                   Defendants.          )
                                        )


      IT IS ORDERED that the defendant’s motion for downward departure (filing
467) is denied.

      DATED this 14 th day of February, 2012.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
